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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


KRISTAL SCOTT,

        Plaintiff,                                  Civil Action No.:
                                                    Honorable
v

CITY OF DETROIT,

        Defendant.


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______________________________________________________________________________

                         COMPLAINT & JURY DEMAND

        NOW COMES PLAINTIFF, KRISTAL SCOTT, by and through her

attorneys, Rasor Law Firm, PLLC, and for her Complaint against Defendant, CITY

OF DETROIT, states as follows:

                            GENERAL ALLEGATIONS

                                       Parties

        1.      At all relevant times, Plaintiff KRISTAL SCOTT (“Plaintiff”), was a

resident of the City of Detroit, County of Wayne, State of Michigan.

        2.      Defendant CITY OF DETROIT (“COD”) is a Michigan municipal

corporation, duly organized and carrying on governmental functions, in City of

Detroit, County of Wayne, State of Michigan, and is the body responsible for the
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control and oversight of its departments, agencies and facilities including the

Detroit Police Department.

      3.     Defendant COD, specifically but not limited to the Police Department,

is both a “program or activity” receiving Federal assistance within the meaning of

Section 504 of the Rehabilitation Act, 29 U.S.C. § 794(a)-(b).

      4.     At all material times, Plaintiff was an employee of Defendant while

working for the Detroit Police Department in the City of Detroit, County of

Wayne, State of Michigan.

      5.     This lawsuit arises out of events occurring within the City of Detroit,

County of Wayne, and State of Michigan.

                              Jurisdiction and Venue

      6.     This cause of action involves violations of Plaintiff’s civil rights, as

secured by the United States and Michigan Constitutions, and is brought pursuant

to the Rehabilitation Act, 29 U.S.C. § 794(a)-(b).

      7.     This Court has jurisdiction over the claims arising under federal law

pursuant to 28 USC §§1331, 1343.

      8.     The amount in controversy exceeds $75,000, exclusive of costs,

interest, and attorney fees, and jurisdiction is otherwise proper in this Court.

      9.     Venue is appropriate in this Court pursuant to 28 USC §1391(b), as

this cause of action arises out of occurrences that took place within this District in



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the County of Wayne and Defendant transacts and conducts business within this

District.

                     COMMON FACTUAL ALLEGATIONS

        10.   Plaintiff reasserts and re-alleges each and every allegation contained

in paragraphs one through 9 of the General Allegations, as if fully set forth herein,

paragraph by paragraph, word for word.

        11.   Plaintiff was employed by the Detroit Police Department beginning in

2004.

        12.   In 2013, Plaintiff suffered a torn meniscus, which the parties at the

time disputed whether this was work or non-work related, her torn meniscus is

applicable to this litigation only in that Plaintiff’s subsequent physical limitations

qualifies as a “disability” as will be discussed below.

        13.   Due to the injuries Plaintiff suffered relating to her legs and lower

back, Plaintiff requested and was granted a restricted-duty assignment at

Defendant’s Gun Desk from approximately August 2012 until her forced

retirement.

        14.   Defendant City of Detroit deemed Plaintiff’s position at the gun desk

an accommodation.

        15.   While Plaintiff’s leg injuries affected her ability to run and ambulate,

it generally had no prohibiting effects of her ability to perform her duties at the

Gun Desk.

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      16.   On August 3, 2017, the City Board of Trustees approved the City of

Detroit Police Department’s application for Plaintiff’s Duty Disability Retirement,

which would be effective on September 7, 2017.

      17.   Plaintiff subsequently appealed this decision, which was affirmed on

March 1, 2018.

      18.   Beginning on or around the time of Detroit’s bankruptcy in 2014,

Detroit Mayor Michael Duggan set out to cut costs in any way the City could find.

      19.   In light of this overarching decision by Mayor Duggan, he enlisted

Detroit Police Chief Craig to likewise find ways to cut costs in his department; the

DPD maintains one of the largest budgets within the City of Detroit.

      20.   Chief Craig determined that it would be cheaper to forcibly retire

officers who had been deemed “permanently disabled,” despite whether they could

perform the functions of either a police officer or of the assignment they were

performing at that time.

      21.   In lieu of Mayor Duggan’s instruction, Chief Craig issued a mandate

that the DPD should hire as many full-duty, able-bodied officers as possible.

      22.   Implicit in this “mandate” was that the DPD would forcibly retire as

many disabled officers as possible under the guise of the Collective Bargaining

Agreement and/or other purported lawful considerations.




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       23.   Based on this mandate from Chief Craig—a mandate collectively

made with Mayor Duggan—DPD began forcibly retiring disabled officers,

including Plaintiff.

       24.   Before determining to retire various disabled officers, including but

not limited to Plaintiff, Defendant undertook no decision-making as to these

known disabled officers’ jobs, the officers’ specific disabilities, or ability to

perform functions of their positions or the extent of their perceived inability to

perform certain essential functions.

       25.   Defendant’s position was that it would retire any employee who it

deemed “permanently disabled” if he/she could not perform even one of the 24

essential functions it deemed applicable to the job of police officer.

       26.   The crux of Defendant’s decision here arose out of either a

discriminatory animus or a patent misunderstanding of disability law: i.e. the City

of Detroit does not have to accommodate any individual who suffered a

“permanent disability.”

       27.   Despite    Defendant’s    discriminatory    conduct,    there   are   still

unaccounted-for permanently disabled officers working for the DPD.

       28.   Chief Craig has admitted that this ultimate decision to forcibly retire

these individuals arose out of his desire to eliminate restricted duty positions (and

the disabled officers) and replace those disabled officers with allegedly cheaper

civilians.

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      29.    Chief Craig has admitted that although his purported basis for forcibly

retiring these disabled officers was because it is less expensive, there was no

financial reason the DPD could not have maintained the disabled officers and hire

new officers.

      30.    The civilians that Defendant replaced the disabled officers with were

less qualified than the retired officers/employees, and upon information and belief,

appeared to be cheaper for Defendant to employ, particularly in the amount of

benefits they receive.

      31.    Likewise, the civilians that Defendant replaced the disabled officers

with could not perform any functions of the retired individuals as they were not

sworn police officers.

      32.    Every officer who was on restricted duty and/or deemed “permanently

disabled,” including Plaintiff, had been put there as a reasonable accommodation

for a disability and/or needed an accommodation.

      33.    Plaintiffs’ monthly income pursuant to a pension—both duty and non-

duty—is significantly lower than income earned as a police officer and the forced

retirement imputed various limitations on earning capacity that would not have

been present had Plaintiffs’ not been discriminatorily forced to retire.

      34.    After Plaintiff was retired, she was specifically replaced by a civilian,

who did not have police officer training or receive police officer benefits.



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      35.    Upon information and belief, Defendant has since stopped pushing

through these forced retirements through the retirement process given the amount

of pending litigation that has resulted from the same.

      36.    In determining to retire these disabled officers, including Plaintiff,

Chief Craig undertook no interactive process and did not even consider how much

it would have cost to keep the disabled employees employed in their

accommodation positions.

                           COUNT I
     VIOLATION OF 29 U.S.C § 794, et seq., SECTION 504 OF THE
    REHABILITATION ACT – DISABILITY DISCRIMINATION AND
                FAILURE TO ACCOMMODATE –
             AS TO DEFENDANT CITY OF DETROIT

      37.    Plaintiff reasserts and re-alleges each and every allegation contained

in paragraphs 1 through 36, as if fully set forth herein.

      38.    The purpose of the Rehabilitation Act is to ensure that no “qualified

individual with a disability in the United States . . . shall, solely by reason of his or

his disability, be excluded from the participation in, be denied the benefits of, or

be subjected to discrimination under any program or activity receiving Federal

financial assistance . . . .” 29 U.S.C. § 794(a).

      39.    The claims under the Rehabilitation Act are brought against

Defendant City of Detroit as an entity that receives federal funding, specifically

but not limited to the Detroit Police Department, which includes Federal money

pertaining to the hiring of officers and various other police functions.

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     40.    Plaintiff is an “individual with a disability” within the meaning of the

Rehabilitation Act, 29 U.S.C. § 705(a)-(b) given her leg injuries affect various

major life activities as enumerated in the Statute, including but not limited to

working, walking, lifting and bending and she was considered disabled by

Defendant given it retired her based on her disability.

     41.    Defendant City of Detroit, specifically the Detroit Police Department,

has received various forms of “federal assistance” within the meaning of 29

U.S.C. § 794(a).

     42.    The DOJ regulation implementing the Rehabilitation Act clarifies the

requirements for Federal financial recipients, stating: “a recipient shall make

reasonable accommodation to the known physical or mental limitations of an

otherwise qualified handicapped applicant or employee unless the recipient can

demonstrate, based on the individual assessment of the applicant or employee, that

the accommodation would impose an undue hardship on the operation of its

program or activity.” 28 C.F.R. § 42.511(a).

     43.    A      reasonable   accommodation    includes,   among    others,   “job

restructuring.” 28 C.F.R. § 42.511(b).

     44.    Further, relevant Federal Rules and Regulations provides that

“[n]o qualified handicapped person shall on the basis of handicap be subjected to

discrimination under any program or activity receiving Federal financial

assistance.” 28 C.F.R. § 42.510(a)(1).

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     45.    Defendant City of Detroit, specifically the Police Department, is

required to “make all decisions concerning employment under any program or

activity receiving Federal financial assistance in a manner which insures that

discrimination on the basis of handicap does not occur and may not limit,

segregate, or classify applicants or employees in any way that adversely affects

their opportunities or status because of handicap.” 28 C.F.R. § 42.510(a)(2).

     46.    An employer has a duty under relevant law to consider transferring a

disabled employee who can no longer perform his/her old job even with

accommodation to a new position within the [c]ompany for which that employee

is otherwise qualified.

     47.    The applicable standards also require Defendant to engage in an

interactive process “[t]o determine the appropriate reasonable accommodation [for

a given employee].” 29 C.F.R. § 1630.2(o)(3).

     48.    The purpose of this interactive process is to “identify the precise

limitations resulting from the disability and potential reasonable accommodations

that could overcome those limitations.”

     49.    Plaintiff was qualified for the position she was working at the Gun

Desk and/or she could perform the position of police officer with or without the

need for a reasonable accommodation.

     50.    Plaintiff requested multiple accommodations, including but not

limited to minor job restructuring to mitigate her injuries.

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      51.      Plaintiff’s disabilities were unrelated to her ability to perform her

duties.

      52.      Given Plaintiff was accommodated for a period of time and Defendant

maintains a number of accommodation positions, Defendant did not proffer a

legitimate basis for forcibly retiring her.

      53.      Defendant’s   failure   to     provide   Plaintiff   with   a   reasonable

accommodation in lieu of her disability denied Plaintiff Defendants’ services,

benefits, activities, programs, or privileges as the access provided to non-disabled

individuals.

      54.      Even though Defendant had available accommodations that were not

unduly burdensome in any manner and had previously provided Plaintiff the same

accommodation she sought (an assignment that fulfilled her accommodation

needs), Defendant refused to accommodate Plaintiff’s request for a reasonable

accommodation and forced her to retire.

      55.      Upon information and belief, this denial and failure to provide

comparable access to Defendant’s services, benefits, activities, programs or

privileges arose from Defendant’s facially discriminatory policies, practices, and

enforcement of the same. These policies are ongoing and continue to this date.

      56.      Upon information and belief, Defendant intentionally and willfully

discriminated against and failed to accommodate disabled employees under the

guise of its Collective Bargaining Agreement and City Charter.

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      57.    Defendant violated the Rehabilitation Act by forcibly retiring Plaintiff

based on her disability.

      58.    Defendant treated Plaintiff, because of her disabilities, more harshly

than it treated similarly-situated, non-disabled employees for the same conduct.

      59.    Defendant’s reason for retiring the restricted-duty officers was merely

pretext to hire non-disabled, non-restricted employees who were civilians and

allegedly cost significantly less to employ.

      60.    Defendant failed to make good faith efforts to establish and enforce

policies to prevent illegal discrimination against its employees, including disability

discrimination.

      61.    Police Chief Craig has admitted to making this determination, at the

behest of Mayor Duggan, that necessarily involves federal disability law, yet Craig

has received no training in the ADA and/or knowing generally what the law

requires.

      62.    Defendant did not engage in any interactive process to attempt to

accommodate Plaintiff, but instead made an unfounded, baseless, blanket

determination to retire disabled employees, including but not limited to Plaintiff.

      63.    Upon information and belief, Defendant ultimately determined to

forcibly retire these disabled officers, including but not limited to Plaintiff, based

on “stereotypes, or unfounded fear” associated with employing disabled

individuals. School Bd of Nassau County, Fla v Arline, 480 US 273, 287 (1987).

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      64.   Defendant failed to properly train or otherwise inform its supervisors

and employees concerning their duties and obligations under the civil rights laws,

including the ADA and/or Rehabilitation Act.

      65.   As a proximate result of Defendant’s violation of Plaintiff’s rights

under the Rehabilitation Act, Plaintiff has suffered, and continues to suffer, from

discrimination, unequal treatment, exclusion from Defendants’ programs,

financial loss, loss of employment and promotional opportunities, loss of dignity,

frustration, humiliation, emotional pain and suffering, anxiety, trauma,

embarrassment, unnecessary loss of rights and privileges, including unnecessary

disciplinary measures, and injury to her health.

      66.   Defendant’s failure to comply with the Rehabilitation Act has resulted

in harm to Plaintiff, and Defendants are liable to Plaintiff for these harms suffered.

      67.   Pursuant to Section 504 of the Rehabilitation Act, Defendant is liable

to Plaintiff for all damages allowed under federal law. To the extent that the

damages allowable and/or recoverable are deemed insufficient to fully compensate

Plaintiff and/or to punish or deter the Defendants, this Court must order additional

damages to be allowed so as to satisfy any and all such inadequacies.

      WHEREFORE, Plaintiff respectfully requests that this Honorable Court

enter judgment in his favor and against Defendant including but not limited to

compensatory damages in whatever amount she is found to be entitled, exemplary



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damages commensurate with the wrong and Defendant’s ability to pay, and an

award of her fair and reasonable attorney fees, cost of litigation, and interest.

                                        RESPECTFULLY SUBMITTED:

                                        THE RASOR LAW FIRM

                                        /s/ Andrew J. Laurila
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                                        Andrew J. Laurila (P78880)
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


KRISTAL SCOTT,

      Plaintiff,                                Civil Action No.:
                                                Honorable
v

CITY OF DETROIT,

      Defendant.


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______________________________________________________________________________
                              JURY DEMAND

      NOW COMES Plaintiff, KRISTAL SCOTT, by and through her attorneys,

RASOR LAW FIRM, PLLC, and hereby demands a trial by jury in the above-

captioned cause of action.

                                   RESPECTFULLY SUBMITTED:

                                   THE RASOR LAW FIRM

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